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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  KARA MELONE AND PAUL MELONE
                          Plaintiff(s)
                 v.                    CIVIL ACTION NO.

  SHORE INSTITUTE FOR REPRODUCTIVE         3:23-cv-03243-GC-JBD
  MEDICINE, P.C.; ALLEN MORGAN, MD;
  KELLY HYNES, LPN; KERRI KING-
  HURLEY; JOHN DOES, MD #1-10; JANE
  ROES, RN/NP/PA #1-10; RON AND JANE
  DOES, #1-10; and ABC CORPORATION #1-
  10
                              Defendant(s) JURY TRIAL DEMANDED


      LIMITED CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER

          It is being represented to the Court that the Plaintiffs, Kara Melone and Paul Melone,

 have requested internal policies and procedures of Defendant, Shore Institute for Reproductive

 Medicine, P.C. relating to the following:

               i.   Proper Handling of Culture Dishes

              ii.   Cryopreserved Specimen Storage and Inventory

             iii.   Blastocyst Vitrification

             iv.    Shipping Specimen to Another IVF Program

              v.    Retention of Records

          These policies and procedures involve trade secrets, confidential information, and

 proprietary materials belonging to Shore Institute for Reproductive Medicine, P.C.; and

          It is being represented to the Court that Shore Institute for Reproductive Medicine, P.C.

 (“Producing Defendant”) is willing to provide these documents for inspection and review only

 under a Protective Order upon the hereinafter stated terms and conditions; and
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                It is being represented to the Court that all of the parties are in agreement as to the

 terms of the said Protective Order; therefore,

                It is hereby ORDERED that:

                1.      Producing Defendant will disclose the above policies and procedures, that

 it designates “Confidential and Proprietary” to the parties to this suit and their attorneys, only

 pursuant to this Order and under the conditions that follow.

                2.      “Material” is defined as the requested internal policies and procedures of

 Defendant, Shore Institute for Reproductive Medicine, P.C. relating to the following:

                               i.       Proper Handling of Culture Dishes

                              ii.       Cryopreserved Specimen Storage and Inventory

                             iii.       Blastocyst Vitrification

                             iv.        Shipping Specimen to Another IVF Program

                              v.        Retention of Records;

                3.      Any and all of the aforesaid materials disclosed by Producing Defendant

 and the contents thereof shall be maintained in confidence by counsel for the Plaintiffs. The

 aforesaid materials shall not be photocopied or reproduced by any means without the prior

 consent of counsel for Producing Defendant or until further order of this Court. The terms of this

 paragraph shall not preclude the photocopying or reproduction by Plaintiffs for said materials for

 use at deposition and trial, subject to admissibility in any trial proceedings.

                4.      Any and all of the aforesaid materials disclosed by Producing Defendant

 and the contents thereof shall be used only in connection with the above-captioned matter and

 shall not be used for any other purpose whatsoever.
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                5.      No person who examines any document produced pursuant to this order

 shall disseminate orally, in writing, or by any other means, the document(s) or the information

 contained therein, to any person not also authorized to examine documents under the terms of

 this order.

                6.      Counsel for Plaintiffs and may permit an expert or experts hired by the

 plaintiffs or other parties in the above-captioned litigation to review a copy the documents

 subject to this Protective Order, but counsel for the plaintiffs and counsel for the other parties

 must first obtain from said experts a written statement confirming the expert’s agreement to

 comply with every element of this Protective Order. Said experts shall agree that the documents

 and the contents thereof shall not be disclosed to any other person or entity and said documents

 shall not be photocopied or reproduced by any means. Any documents provided to experts must

 be returned to Producing Defendants within thirty (30) days of the conclusion of the above-

 captioned litigation pursuant to the terms of paragraph 9 below at the request of defense counsel.

                7.      Notwithstanding the foregoing provisions, this Order shall be without

 prejudice to the right of any party to challenge the propriety of discovery on any grounds

 including, but not limited to, relevance, privilege and materiality.

                8.      Notwithstanding the foregoing provisions, this Order shall not restrict in

 any manner the right of any party to offer or use as evidence at the trial of this action any of the

 documents subject to this Protective Order and nothing contained herein shall be construed as a

 waiver of any objection which might be raised as to the admissibility of any evidentiary material.

                9.      At the conclusion of this lawsuit by settlement, a jury verdict, nonsuit,

 dismissal, by judgment order or otherwise, all Producing Defendant’s materials, including any
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 and all copies, or renditions made from the materials, shall be returned to undersigned counsel

 for Producing Defendant within thirty (30) days upon the request of defense counsel.

                10.     A breach of the terms of this Order shall entitle Producing Defendant to

 appropriate sanctions, including but not limited to attorneys’ fees and costs incurred in the

 enforcement of this Order.




         HENDLER FLORES LAW                                  KIERNAN TREBACH LLP



 __________________________________                 __________________________________
        LEIGH JOSEPH, ESQUIRE                            SARAH M. BAKER, ESQUIRE
Attorney for Plaintiffs, Kara and Paul Melone       Attorney for Defendants, Shore Institute for
                                                 Reproductive Medicine, P.C., Allen Morgan, M.D.,
                                                     Kelly Hynes, LPN, and Kerri King-Hurley




                                                APPROVED BY THE COURT:




                                                BY:
                                                                                J.

 DATE: ________________________
